                                                                                             Liquidation Value Analysis                                                                                                   EXHIBIT B
                                                                                                   Case Numb. #18-03190
                                                                                  Debtor: Jesus Morales Miranda and Dorcas Nazario Rivera
                                                                                                                                                                            Exemption                      Sale Related
                                                              Forced sale                                     Debtor's % Net Equity to                                       Amount       Equity Avail.     Expense at    Liquidation
Real Property                                  Value        value (90 days)      Liens       Net Equity        Interest     Estate               Exemption Used              Claimed       For Admin.         10.00%         Value
 Carr. #664 KM 1.5 Bo Magueyes              $ 245,000.00     $ 183,750.00     $ 245,000.00 $         -          100%     $        -         PRLA @ 385 (Hogar Seguro)                   0 $        -        $       -   $          -
 Ave. Los Rosales - #208                    $ 95,000.00      $ 71,250.00      $ 95,000.00
 Bo. Sabana Hoyos - Sector Manantiales      $ 132,000.00     $ 99,000.00      $ 132,000.00
 Ave. Los Rosales - Parcela #26             $ 160,000.00     $ 120,000.00     $ 160,000.00 $         -           100%      $       -                                    $          -      $         -      $       -      $           -
 Calle Almendar #109                        $ 80,000.00      $ 60,000.00      $ 80,000.00 $          -           100%      $       -                                    $          -      $         -      $       -      $           -


                                                               Forced sale                                  Debtor's %                                                    Exemption                        Sale Related
                                                            value - 70% (90                                 Ownership Net Equity to                                        Amount                           Expense at      Liquidation
Personal Property                               Value             days)             Liens       Net Equity   Interest     Estate              Exemption Being Used         Claimed          Net Equity        10.00%           Value
 2012 Highlander                            $   15,000.00    $ 10,500.00      $      6,015.19 $    4,484.81   100%     $ 4,484.81                  522(d)(2)            $    3,775.00     $      709.81     $ 1,050.00    $          -
 2002 Ford                                  $   13,000.00    $     9,100.00   $           -   $    9,100.00   100%     $ 9,100.00                  522(d)(5)            $    1,690.00     $ 7,410.00        $ 910.00      $     6,500.00
 1994 Ford 450                              $    6,500.00    $     4,550.00   $           -   $    4,550.00   100%     $ 4,550.00                    (d)(2)             $    3,775.00     $      775.00     $ 455.00      $       320.00
 1999 Ford 450                              $   10,000.00    $     7,000.00   $           -   $    7,000.00   100%     $ 7,000.00                    (d)(6)             $    4,750.00     $ 2,250.00        $ 700.00      $     1,550.00
 Household Goods                            $   20,000.00    $ 14,000.00      $           -   $ 14,000.00     100%     $ 14,000.00                   (d)(3)             $ 20,000.00       $ (6,000.00)      $ 1,400.00    $          -
 Electronics                                $    1,500.00    $     1,050.00   $           -   $    1,050.00   100%     $ 1,050.00                    (d)(3)             $    1,500.00     $     (450.00)    $ 105.00      $          -
 Clothing                                   $    1,000.00    $       700.00   $           -   $      700.00   100%     $     700.00                  (d)(3)             $    1,000.00     $     (300.00)    $    70.00    $          -
 Jewelry                                    $    5,200.00    $     3,640.00   $           -   $    3,640.00   100%     $ 3,640.00                    (d)(4)             $    2,700.00     $      940.00     $ 364.00      $       576.00
 Cash                                       $      800.00    $       560.00   $           -   $      560.00   100%     $     560.00                  (d)(5)             $      800.00     $     (240.00)    $    56.00    $          -
 BPPR Account                               $       10.00    $         7.00   $           -   $        7.00   100%     $       7.00                  (d)(5)             $       10.00     $       (3.00)    $     0.70    $          -
 Coop Stocks                                $    2,000.00    $     1,400.00   $     15,975.00 $ (14,575.00)   100%     $ (14,575.00)                                    $         -       $ (14,575.00)     $ 140.00      $          -
 2002 Huyandai Finger                       $   12,500.00    $     8,750.00   $           -   $    8,750.00   100%     $ 8,750.00                                       $         -       $ 8,750.00        $ 875.00      $     7,875.00
 Inventory                                  $   16,432.06    $ 11,502.44      $           -   $ 11,502.44     100%     $ 11,502.44                                      $         -       $ 11,502.44       $ 1,150.24    $ 10,352.20

Case Liquidation Value                                                                                                                                                                                                    $   27,173.20
 Chapter 7 Trustee's Liquidating Fees                                                                                                                                                                                     $    3,467.32
 Net Liquidation Value to Estate Prior to Admin Expenses                                                                                                                                                                  $   23,705.88

 I. Projected Administrative Expenses
       Attorney Fees                                                                                                                                                    $ 10,000.00
       Accountant                                                                                                                                                       $ 2,500.00
 Total Admin Expenses                                                                                                                                                   $ 12,500.00                                       $   12,500.00


 Estimated Funds Available for Unsecured Creditors                                                                                                                                                                        $   11,205.88
